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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

  UNITED STATES OF AMERICA
                                                   Case No. 6.-25-MJ- 45

 v.
                                                   JUDGE MITCHELL
  CALEB TIMOTHY FOX
                                                   Filed Under Seal



                     AFFIDAVIT IN SUPPORT OF A COMPLAINT AND
                         REQUEST FOR AN ARREST WARRANT

         I, James Reed, being duly sworn, depose and state that:

                            INTRODUCTION AND BACKGROUND

         1. I make this affidavit in support of a criminal complaint and arrest warrant for Caleb

Timothy FOX (hereinafter referred to as FOX ), a white male with a date of birth of April 18,

1992, for violation of 18 U.S.C. § 933(a)(3), Attempted Trafficking in Firearms.

        2. I am a special agent with the United States Department of Justice, Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF) and have been since January 2014.1 am

currently assigned to the Tyler, Texas Field Office. As a special agent, I am a graduate of the

Federal Law Enforcement Training Center (FLETC) and the ATF National Academy. I

regularly refer to state and federal laws and regulations during the course of my duties. I have

received a Bachelor of Arts degree in Political Science and a Master s in Public Administration

from Texas A&M University. Based upon my training and experience as an ATF Special Agent,

I am familiar with federal laws, including those referenced in this affidavit.




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        3. Because this affidavit is being submitted for the limited purpose of securing a

criminal complaint and arrest warrant, it is only intended to show sufficient facts to establish

probable cause and does not set forth all of my knowledge about this matter. During the course

of this investigation, I gained personal knowledge or have been made aware of the following:

                                      PROBABLE CAUSE

        4. On March 12, 2025, ATF Tyler was notified by Federal Firearms License (FFL)

Mac s Gun Shop Inc., located in Tyler, Smith County, in the Eastern District of Texas, of a

suspected straw purchase of multiple firearms. On the same day, investigators interviewed the

FFL who provided an ATF From 4473 showing that two days prior on March 10, 2025, Mia

Dickerson had attempted to purchase six firearms:

            a. A Winchester, model 190, .22LR caliber rifle, bearing serial number Bl883890;

            b. A Springfield Arms, model 187s, .22LR caliber rifle, bearing serial number

                B092888;

            c. A Remington, model S97, .22LR caliber rifle, bearing serial number A2680097;

            d. An American Tactical, 5.56 caliber rifle, bearing serial number MSA064684;

            e. A Glock, model 43x, 9mm caliber pistol, bearing serial number CEFK671; and

            f. A Glock, model 19, 9mm caliber pistol, bearing serial number CDYP291.

        5. A preliminary review of the above firearms by ATF interstate nexus experts

indicates that they all have affected interstate commerce; that is, they were manufactured outside

the state of Texas and, therefore, traveled in interstate or foreign commerce prior to arriving at

Mac s Gun Shop Inc.



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        6. The FFL store employee stated that Dickerson filled out the ATF Form 4473,

certified, and signed the form indicating that she was the actual purchaser of the firearms. The

FFL stated that when it came time to pay the total purchase price of approximately $2,500,

another individual who had accompanied Dickerson, identified as Caleb Timothy FOX,

produced the money and paid the FFL. The FFL stated that after they asked questions, the

statements of FOX and Dickerson were determined to be inconsistent, and the FFL delayed the

transaction.

        7. The FFL stated that on March 12, 2025, they had been in contact with FOX who

wanted to return and retrieve his money. The same day, investigators conducting surveillance of

the FFL, observed FOX arrive at the FFL alone in a vehicle, enter the store, and leave.

        8. Investigators consensually contacted and interviewed FOX, who admitted to

working with Dickerson who would purchase the firearms and transfer them to FOX because he

could not legally purchase some of the firearms in Texas. FOX stated that he paid Dickerson a

fee for the straw purchase the firearms. Additionally, FOX told investigators that his purpose for

acquiring the firearms was to smuggle the firearms to Mexico, where he had arranged to sell

them to individuals. FOX stated that he had previously smuggled firearms from the United

States to Mexico on earlier dates and later had sold the firearms to Mexican individuals whose

possession of the firearms FOX knew was illegal.

        9. FOX signed a written consent to search his phone, which contained text

conversations in both English and Spanish with individuals whom FOX claimed were in

Mexico, in which FOX was negotiating the sale and delivery of the of the above-referenced




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Glock pistols. These messages are consistent with FOX s admissions to investigators. Numerous

other text messages indicated that FOX would be traveling to Oaxaca, Mexico.

        10. FOX further admitted to purchasing controlled substances from some of the

individuals to whom he trafficked firearms. A cursory review of his phone showed numerous

text messages in which FOX was negotiating the purchase of controlled substances, including

cocaine. FOX admitted to investigators to being an unlawful user of cocaine and other

controlled substance.


        11. Finally, FOX signed a written consent to search his rental vehicle, during which

investigators located and seized approximately 17 grams of what field-tested positive as a

mixture or substance containing a detectable amount of cocaine, which appeared to be cocaine

base ( crack ), and a firearm.

                                         CONCLUSION

        12. Based on the foregoing, I submit that there is probable cause to believe that Caleb

Timothy FOX has committed a violation of 18 U.S.C. § 933(a)(3), Attempted Trafficking in

Firearms. I swear under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

                                   REQUEST FOR SEALING

        13. It is respectfully requested that this Court issue an order sealing, until further order

of the Court, all papers submitted in support of the criminal complaint, including this affidavit.

Premature disclosure of the contents of this affidavit and related documents may have a

significant and negative impact on the continuing investigation and may severely jeopardize its

effectiveness.

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                                   Respectfully Submitted,




                                   Jam Reed
                                   Bhifdau of Alcohol, Tobacco, Firearms and Explosives



        SUBSCRIBED AND SWORN to before me this 1 day of March 2025.



                                   HON.     . NICOLE MITCHELL
                                   UNITED STATES MAGISTRATE JUDGE




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